Case 1:24-mj-O0009-TAM Document 1 Filed 01/03/24 Page 1 of 4 PagelD #: 1

AB:EL

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
— against —

COMPLAINT
(T. 31, U.S.C., § 5332)

JESSICA BESS JASON-GUETA,
Case No. 24-MJ-009

Defendant.
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EASTERN DISTRICT OF NEW YORK, SS:

RYAN SAMAROO, being duly sworn, deposes and states that he is a Special
Agent with the United States Department of Homeland Security, Homeland Security
Investigations (“HSI”), duly appointed according to law and acting as such.

On or about January 2, 2024, within the Eastern District of New York and
elsewhere, the defendant JESSICA BESS JASON-GUETA did knowingly and with the intent
to evade the currency reporting requirements under Title 31, United States Code, Sections
5316(a)(1)(B) and 5316(b), conceal more than $10,000 in currency, to wit, approximately
$87,598 in United States currency, on the person and in articles of luggage and other
containers, and transport and transfer and attempt to transport and transfer such currency
from a place outside of the United States to a place within the United States.

(Title 31, United States Code, Section 5332)
Case 1:24-mj-O0009-TAM Document 1 Filed 01/03/24 Page 2 of 4 PagelD #: 2

The source of your deponent’s information and the grounds for his belief are
as follows:!

l. I have been a Special Agent with HSI for approximately 5 years. I am
familiar with the facts contained in this affidavit as a result of my participation in the
investigation, which includes, but is not limited to, my review of the physical evidence, my
review of the file and conversations with other law enforcement personnel assisting with the
investigation.

2. On or about January 2, 2024, the defendant JESSICA BESS JASON-
GUETA, a citizen of the United States, arrived at John F. Kennedy International Airport in
Queens, New York onboard Delta flight DL 1886, arriving from St. Maarten. The defendant
was traveling with one carry-on handbag bag (the “Handbag”) and one carry-on luggage (the
“Luggage”).

3. As JASON-GUETA proceeded through Customs & Border Protection
(“CBP”) primary inspection, a CBP officer observed that JASON-GUETA was attempting to
conceal currency in her Handbag. The CBP officer referred JASON-GUETA for a secondary
inspection.

4. Prior to the secondary inspection of JASON-GUETA’s Luggage,
JASON-GUETA confirmed to CBP officers that the Luggage and its contents belonged to
her. JASON-GUETA verbally stated that she was traveling with approximately $5,000 in
United States currency. JASON-GUETA was subsequently provided CBP Form 6059B,

where she reported that she was not transporting in excess of $10,000 of United States

| Because the purpose of this affidavit is to set forth only those facts necessary
to establish probable cause, I have not set forth all the facts and circumstances of which I am
aware.
Case 1:24-mj-O0009-TAM Document 1 Filed 01/03/24 Page 3 of 4 PagelD #: 3

currency or monetary instruments. CBP officers requested that JASON-GUETA further
indicate the amount of currency in her possession on the back of the Form 6059B. JASON-
GUETA wrote down $5,000 and signed next to the amount.

5. CBP officers searched the Luggage and discovered several bundles of
United States currency, totaling $15,005.

6. CBP officers further conducted a search of JASON-GUETA’s person,
whereby they discovered additional bundles of currency concealed in, among other places,
JASON-GUETA’s bra and the inside of her pants. Following the search, JASON-GUETA
retrieved, and provided to the CBP officers, a blue plastic bag from her Handbag, which
contained three additional bundles of United States currency. In total, CBP officers
discovered $87,598 in United States currency in JASON-GUETA’s Handbag, Luggage, and
on her person.

7. During the search, JASON-GUETA stated to CBP officers that she
believed that if she declared more than $10,000 in United States currency, that her money

would be taken from her by CBP.
Case 1:24-mj-O0009-TAM Document 1 Filed 01/03/24 Page 4 of 4 PagelD #: 4

8. WHEREFORE, your deponent respectfully requests that the defendant

JESSICA BESS JASON-GUETA be dealt with according to law.

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RYAN SAMAROO
Special Agent
Homeland Security Investigations

Sworn to before me by telephone this
3 day of January, 2024

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